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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT



JOSEPH STRAUCH et al
on behalf of himself and all those similarly situated,
       Plaintiffs,                                                   Civil No. 3:14-cv-00956-JBA

v.

COMPUTER SCIENCES CORP,
    Defendant.

                                         AMENDED JUDGMENT

       This matter came on for consideration before the Honorable Janet Bond Arterton, United

States District Judge, for the review of Special Master D. Charles Stohler’s Report and

Recommendation [Doc. #503]. The Court adopts the proposed rulings contained in the Report

and Recommendation on the two contested issues affecting the damages calculation, as well as the

non-objected-to portions, and finds the Defendant liable for damages as set forth in Exhibit 1 to

the Report and Recommendation in the total amount of $18,755,016.46.

       It is therefore ORDERED, ADJUDGED, and DECREED that judgment is entered in favor

of the Plaintiffs in the amount of $18,755,016.46.

       Dated at New Haven, Connecticut, this 12th day of August 2019.

                                                         ROBIN D. TABORA, Clerk

                                                   By: __/s/__________________
                                                      Donna Barry, Deputy Clerk
EOD: August 12, 2019
